                                                                                    EXHIBIT

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                        Concord Police Department
                        Evidence Processing· Report

DATE: June 4th, 2015          TYPE OF CASE: First-Degree Rape, Robbery
OCA: 76 CRS 5708              DATE OF OFFENSE: April 25th, 1976
SUSPECT(S): Ronnie Wallace Long

EXAMINED BY: B. Schiele


ITEM(S) EXAMINED

Item # 1: Sealed envelope containing nine (9) latent fingerprint lift cards
Item #2: Sealed envelope containing twenty-two (22) latent fingerprint lift cards
Item #3: Sealed envelope containing twelve (12) latent fingerprint lift cards ·

TYPE OF EXAMINATION

AFIS submission

RESULTS OF EXAMINATION

Item #1:       One latent lift card (01-9) submitted to AFIS network. Query returned no
               possible contributors of the latent impression.

Item#2:        Three latent lift cards (02-1, 02-8, and 02-11) submitted to AFIS network.
               Queries returned no possible contributors of these latent impressions.

Item#3:        Insufficient value for AFIS submission.




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                                                            Sergeant Brian Schiele
                                                            Concord Police Department
                                                            Criminal Investigation Div.




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